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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA

                                ATLANTA DIVISION

UNITED STATES OF AMERICA                 )
                                         )     CRIMINAL ACTION NO.
             v.                          )
                                         )     1:06-CR-514-CAP
SHANE DOLAN KNIGHT                       )
                                         )
____________________________             )

  CONSENT MOTION FOR CONTINUANCE OF REVOCATION HEARING

      COMES NOW the Defendant, Shane Dolan Knight, by and through

undersigned counsel, and move for a continuance of the revocation hearing currently

scheduled for Thursday, September 29, 2022, before this Honorable Court.               In

support hereof, Mr. Knight shows as follows:

                                             (1)

      This case involves allegations of serious felony violations of supervised

release. The parties are in the process of finalizing a global resolution to this petition

and a new felony charge. The parties need additional time for the government to

obtain supervisory approval for the global resolution and for the arraignment on the

new charge before they can proceed.
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                                       (2)

      Counsel for the Government consents to this motion.

      WHEREFORE, Mr. Knight prays that the hearing currently scheduled for

September 29, 2022 be continued for approximately 30 days until a date convenient

to the Court.

      Dated: This 23rd day of September, 2022.

                                             Respectfully submitted,



                                             /s/ Nicole M. Kaplan
                                             NICOLE M. KAPLAN
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